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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                                CASE NO.:
  PATRICK A. FORTE,

            Plaintiff,

  -vs-

  GOLDMAN SACHS BANK USA, and
  EQUIFAX INFORMATION SERVICES, LLC,


        Defendants.
  ______________________________________/

                                              COMPLAINT

                                            JURY DEMAND

           Plaintiff, Patrick A. Forte (“Plaintiff”), alleges violations of the Fair Credit Reporting Act,

 15 U.S.C. § 1681 et seq. (“FCRA”), against Defendants, Goldman Sachs Bank USA (“GS Bank”)

 and Equifax Information Services, LLC (“Equifax”) (collectively the “Defendants”), and states the

 following in support thereof:

                                    JURISDICTION AND VENUE

           1.      This Court has subject matter jurisdiction under 15 U.S.C. § 1692k and 28 U.S.C.

 § 1331 because this action arises out of a federal statute.

           2.      This Court has personal jurisdiction because Defendants’ conduct business

 throughout the State of Florida.

           3.      Defendants’ voluntary contact with Plaintiff in Florida made it foreseeable that they

 would be hailed into a Florida court. See Burger King Corp. v. Rudzewicz, 471 U.S. 462, 474

 (1985).
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         4.      Venue is proper because the alleged acts, omissions, and/or transactions

 complained of occurred here; Plaintiff lives here; and the Defendants conduct business here.

                                               PARTIES
         5.      Plaintiff is a natural person and, at all times relevant to this action, was a resident

 of the State of Florida.

         6.      GS Bank is a foreign profit corporation with its principal place of business located

 at 200 W Street, New York, NY 10282 and whose registered agent is CT Corporation System,

 1200 South Pine Island Road, Plantation, FL 33324.

         7.      Equifax is a foreign limited liability company with its principal place of business

 located at 1550 Peachtree Street, NW H-46, Atlanta, GA 30309.

                                      LEGAL BACKGROUND

         8.      “Congress enacted the FCRA in 1970 to ensure fair and accurate credit reporting,

 promote efficiency in the banking system, and protect consumer privacy.” Safeco Ins. Co. of Am.

 v. Burr, 551 U.S. 47, 52 (2007) (citations omitted).

         9.      Congress found that “inaccurate credit reports directly impair the efficiency of the

 banking system, and unfair credit reporting methods undermine the public confidence which is

 essential to the continued functioning of the banking system.” 15 U.S.C. § 1681(a)(1)

         10.     Congress also found that “[c]onsumer reporting agencies have assumed a vital role

 in assembling and evaluating consumer credit and other information on consumers” and that

 “[t]here is a need to ensure that consumer reporting agencies exercise their grave responsibilities

 with fairness, impartiality, and a respect for the consumer’s right to privacy.” 15 U.S.C. §

 1681(a)(3), (4).

         11.     To further the FCRA’s purpose, Congress requires “consumer reporting agencies

 [to] adopt reasonable procedures for meeting the needs of commerce for consumer credit,


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 personnel, insurance, and other information in a manner which is fair and equitable to the

 consumer, with regard to the confidentiality, accuracy, relevancy, and proper utilization of such

 information.” 15 U.S.C. § 1681(b).

        12.     “The aim of the Fair Credit Reporting Act is to see that the credit reporting system

 serves the consumer as well as the industry. The consumer has a right to information which is

 accurate; he has a right to correct inaccurate or misleading information; he has a right to know

 when inaccurate information is entered into his file; he has a right to see that the information is

 kept confidential and is used for the purpose for which it is collected; and he has a right to be free

 from unwarranted invasions of his personal privacy. The Fair Credit Reporting Act seeks to secure

 these rights.” Hearings on S. 823 Before the Subcomm. on Financial Institutions of the S. Comm.

 on Banking and Currency, 91st Cong. 2 (1969).

        13.     The FCRA requires credit reporting agencies to “follow reasonable procedures to

 assure maximum possible accuracy of consumer reports.” 15 U.S.C. § 1681e(b).

        14.     If a consumer disputes information contained in his or her credit report, the FCRA

 requires a credit reporting agency to “conduct a reasonable reinvestigation to determine whether

 the disputed information is inaccurate and record the current status of the disputed information, or

 delete the item from the file in accordance with paragraph (5), before the end of the 30-day period

 beginning on the date on which the agency receives the notice of the dispute from the consumer

 or reseller.” 15 U.S.C. § 1681i(a)(1)(A).

        15.     In performing the reinvestigation, the FCRA requires a credit reporting agency to

 “review and consider all relevant information submitted by the consumer in the period described

 in paragraph (1)(A) with respect to such disputed information.” 15 U.S.C. § 1681i(a)(4).

        16.     If the disputed information is inaccurate or incomplete or cannot be verified, the




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 consumer reporting agency “shall (i) promptly delete that item of information from the file of the

 consumer, or modify that item of information, as appropriate, based on the results of the

 reinvestigation; and (ii) promptly notify the furnisher of that information that the information has

 been modified or deleted from the file of the consumer.” 15 U.S.C. § 1681i(a)(5)(A)(i), (ii).

        17.     If any disputed information is deleted because it is inaccurate or incomplete or

 cannot be verified and is deleted, the consumer reporting agency must comply with the certain

 requirements for certification by the furnisher of such information and for notification if the

 information is reinserted. 15 U.S.C. § 1681i(a)(5)(B)(i), (ii), and (ii).

        18.     Moreover, a consumer reporting agency must maintain reasonable procedures

 designed to prevent the reappearance in a consumer’s file, and in consumer reports on the

 consumer, of information that is deleted unless the information is reinserted in compliance with

 the procedures for certification and notification. 15 U.S.C. § 1681i(a)(5)(C).

        19.     After a furnisher of information to a consumer reporting agency receives notice that

 the completeness or accuracy of information is disputed by a consumer, the furnisher must conduct

 a reinvestigation with respect to the disputed information, reviewing all relevant information. 15

 U.S.C. § 1681s-2(b).

        20.     The FCRA provides a private right of action against any person that violates its

 provisions. 15 U.S.C. § 1681o, 1691n.

                                    FACTUAL BACKGROUND

        21.     At all times relevant to the instant action, Plaintiff believes and therefore avers that

 his identity was stolen.

        22.     In or about August of 2020, while preparing for major surgery, Plaintiff received a

 notice from GS Bank regarding an Apple Card credit account (hereinafter the “Apple Card



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 Account”) that was past due. (See Exhibit ‘A’).

        23.      At all times relevant, Plaintiff never applied for, opened, authorized, approved,

 and/or used the Apple Card Account.

        24.      Plaintiff believes and therefore avers that the unknown individual(s) that stole his

 identity opened the Apple Card Account in Plaintiff’s name and failed to make any payments on

 said account.

        25.      In response to the letter sent in relation to the Apple Card Account, Plaintiff

 contacted Apple and GS Bank by telephone, in attempts to correct the errors related to the Apple

 Card Account.

        26.      During the telephone calls, Plaintiff explained to one of the company

 representatives that he had no knowledge of ever establishing the Apple Card Account.

        27.      The representative explained to Plaintiff that the Apple Card Account had been

 charged $32.51 for the months of April, May, and June of 2020, and that those charges had not

 been paid.

        28.      The representative further explained to Plaintiff that the aforementioned charges

 had already been written off as “bad debt” and that information concerning the delinquency on the

 Apple Card Account had been sent to the credit reporting agencies by GS Bank.

        29.      Understandably dismayed by what he had learned, Plaintiff placed another call to

 GS Bank in a continued attempt to remedy the situation and to have the derogatory Apple Card

 Account expunged from all three of his consumer reports.

        30.      The representative explained to Plaintiff that nothing could be done about the

 derogatory credit reporting, but that he could mitigate the damage to his consumer reports by



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 making payment in full, which Plaintiff did.

        31.      On or about September 25, 2020, Plaintiff obtained copies of consumer reports

 maintained by the three major credit reporting agencies—Trans Union, Experian, Equifax.

        32.      Upon review of his consumer reports, Plaintiff confirmed that the Apple Card

 Account was being reported as delinquent (120+ days late) by all three of the credit reporting

 agencies.

        33.      When the delinquent status of the fraudulently opened Apple Card Account was

 placed on Plaintiff’s consumer reports, it caused several issues to arise for Plaintiff.

        34.      Plaintiff confirmed that his credit scores had plummeted, as prior to the Apple Card

 Account being reported as delinquent his credit scores were above the 800 range; however, they

 were now in the 640 range.

        35.      Moreover, Plaintiff’s credit accounts with American Express and Bank of America,

 one of which was opened in 1970, were both closed by the creditors because of the fraudulently

 opened Apple Card Account with a delinquent status on Plaintiff’s consumer reports.

        36.      On or about September 30, 2020, Plaintiff filed a police report (Report No.: 2020-

 0014807) in reference to the inaccurate reporting of the Apple Card Account on his consumer

 reports.

        37.      On or about October 7, 2020, Plaintiff wrote, paid for, and sent letters to Trans

 Union, Experian, and Equifax, advising all three that he was the victim of identity theft. (See

 Exhibit ‘B’).

        38.      In the aforementioned letters, Plaintiff included enough information to allow all

 three credit reporting agencies to identify him, including without limitation, his social security

 number, his date of birth, his cellular telephone number, and a copy of his Florida driver’s license.


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 (See Id.).

         39.    Further, Plaintiff advised all three credit reporting agencies of his current address,

 his previous address, and that he had never lived in Munster, Indiana.

         40.    Plaintiff also requested that any inaccurate addresses be removed from his

 consumer reports, because including them in his credit profile may allow the identity theft to

 continue. (See Id.).

         41.    Lastly, Plaintiff requested that all three credit reporting agencies remove the

 fraudulently opened Apple Card Account from his consumer reports in its entirety. (See Id.).

         42.    Subsequent to sending the dispute letters to the credit reporting agencies, Plaintiff

 received a letter from GS Bank dated November 12, 2020. (See Exhibit ‘C’).

         43.    In the November 12, 2020 letter, GS Bank stated, among other things, that they had

 sent a request to Trans Union, on Plaintiff’s behalf, to have the inquiry and trade-line concerning

 the fraudulently opened Apple Card Account removed from Plaintiff’s credit file. (See Id.).

         44.    Notably, the November 12, 2020 letter does not reference a request to have the

 inquiry and trade-line removed from Plaintiff’s credit file maintained by Experian and Equifax,

 however, GS Bank was fully aware that the Apple Card Account was reported to both credit

 reporting agencies.

         45.      Plaintiff also received a letter from Trans Union dated November 13, 2020, which

 stated, among other things, that Trans Union had deleted the fraudulently opened Apple Card

 Account from Plaintiff’s consumer report.

         46.    In the e-OSCAR system, if an account is modified or deleted through the ACDV

 process, “carbon copies” are sent to each credit reporting agency with whom the furnisher has a



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 reporting relationship.1

           47.     Although both Experian and Equifax were notified of changes to Plaintiff’s credit

 file, Plaintiff did not receive a response to the dispute letters dated October 7, 2020, that he sent to

 them concerning the fraudulently opened Apple Card Account.

           48.     On or about December 16, 2020, Plaintiff again obtained copies of his consumer

 reports maintained by the three major credit reporting agencies—Trans Union, Experian, Equifax.

           49.     As represented in it’s November 13, 2020 letter, Trans Union had deleted the

 fraudulently opened Apple Card Account from Plaintiff’s consumer report.

           50.     Experian had also deleted the fraudulently opened Apple Card Account from

 Plaintiff’s consumer report, although Plaintiff never received notification of the results of

 Experian’s investigation.

           51.     Equifax, however, did not delete the fraudulently opened Apple Card Account from

 Plaintiff’s consumer report and continues to report said account as delinquent, which severally

 damaged and continues to damage Plaintiff’s credit score.

                                               COUNT I
                             (Violation of 15 U.S.C. § 1681e(b) by Equifax)

           52.     Plaintiff realleges the foregoing paragraphs as if fully set forth herein.

           53.     At all times relevant, Plaintiff is and was a “consumer” as defined by the Fair Credit

 Reporting Act, 15 U.S.C. § 1681a(c).

           54.     At all times relevant, Equifax is and was a “consumer reporting agency,” as defined

 in 15 U.S.C. § 1681(f) because it is regularly engaged in the business of assembling, evaluating,




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     https://www.e-oscar.org/getting-started/about-us


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 and disbursing information concerning consumers for the purpose of furnishing consumer reports

 to third parties and disburses consumer reports under contract for monetary compensation.

        55.     15 U.S.C. § 1681e(b) provides: “[w]henever a consumer reporting agency prepares

 a consumer report it shall follow reasonable procedures to assure maximum possible accuracy of

 the information concerning the individual about whom the report relates.

        56.     A consumer report must be (i) factually true and (ii) unlikely to lead to a

 misunderstanding by the intended user in order to comply with the maximum accuracy standard

 set forth under the FCRA. See Erickson v. First Advantage Background Servs. Corp., 2020 U.S.

 App. LEXIS 37837 (11th Cir. 2020).

        57.     At all times relevant, Equifax assembled, prepared, and/or maintained consumer

 reports containing factually incorrect information related to Plaintiff.

        58.     At all times relevant, Equifax assembled, prepared, and/or maintained consumer

 reports containing information related to Plaintiff that was likely to lead to a misunderstanding by

 the intended user.

        59.     Equifax violated 15 U.S.C. § 1681e(b) by failing to establish or to follow reasonable

 procedures to assure maximum possible accuracy in the preparation of consumer reports

 containing information related to Plaintiff.

        60.     Specifically, after being notified of Plaintiff’s disputes, Equifax prepared consumer

 reports stating, among other things, that Plaintiff opened, used, and failed to pay on the Apple

 Credit Account, when all of the aforementioned acts were actually done by an unknown third-party

 who had stolen Plaintiff’s identity.

        61.     As a direct and proximate result of Equifax’s acts and/or omissions, Plaintiff

 experienced injury, including without limitation, financial loss, loss of time addressing Equifax’s


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  acts and/or omissions, loss of credit, loss of the ability to benefit from credit, and emotional

  distress.

          62.    Equifax’s aforementioned conduct regarding Plaintiff was willful, rendering it

  liable for damages pursuant to 15 U.S.C. § 1681n.

          63.    In the alternative, Equifax’s conduct regarding Plaintiff was negligent, rendering it

  liable for damages pursuant to 15 U.S.C. § 1681o.

          64.    Plaintiff is entitled to recover costs and attorney’s fees from Equifax in an amount

  to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or § 1681o.

          WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

  against Equifax for actual damages, statutory damages, attorney’s fees, litigation expenses, costs

  of suit, and such further relief as the Court deems proper.

                                             COUNT II
                            (Violation of 15 U.S.C. § 1681i by Equifax)

          65.    Plaintiff realleges the foregoing paragraphs as if fully set forth herein.

          66.    At all times relevant, Plaintiff is and was a “consumer” as defined by the Fair Credit

  Reporting Act, 15 U.S.C. § 1681a(c).

          67.    At all times relevant, Equifax is and was a “consumer reporting agency,” as defined

  in 15 U.S.C. § 1681(f) because it is regularly engaged in the business of assembling, evaluating,

  and disbursing information concerning consumers for the purpose of furnishing consumer reports

  to third parties and disburses consumer reports under contract for monetary compensation.

          68.    Plaintiff sent a written dispute letter to all three major credit reporting agencies,

  including Equifax, concerning the fraudulently opened Apple Card Account and the incorrect

  addresses on his consumer reports.



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          69.     Experian was notified of Plaintiff’s disputes by the written letter sent on or about

  October 7, 2020 and/or the carbon copy ACDV form forwarded by other credit reporting agencies.

          70.     Section § 1681i(a) of the FCRA imposes “a duty ... to make reasonable efforts to

  investigate and correct inaccurate or incomplete information brought to its attention by the

  consumer.” Cahlin v. Gen. Motors Acceptance Corp., 936 F.2d 1151, 1160 (11th Cir. 1991).

  “[T]he term ‘investigation’ is defined as ‘[a] detailed inquiry or systematic examination’ or ‘a

  searching inquiry.’” Hinkle v. Midland Credit Mgmt., Inc., 827 F.3d 1295, 1303 (11th Cir. 2016)

  (citations omitted).

          71.     A credit reporting agency, such as Equifax, does not fulfill its responsibility to

  conduct a reinvestigation of a consumer’s dispute by merely contacting the creditor who supplied

  the disputed account. See Collins v. Experian Info. Sols., Inc., 775 F.3d 1330, 1333 (11th Cir.), on

  reh’g sub nom. Collins v. Equable Ascent Fin., LLC, 781 F.3d 1270 (11th Cir. 2015).

          72.     After being notified of Plaintiff’s disputes, Equifax violated 15 U.S.C. § 1681i by:

  (i) failing to conduct a lawful reinvestigation; (ii) failing to conduct any investigation at all; (iii)

  failing to delete inaccurate information in Plaintiff’s credit file; (iv) failing to forward all relevant

  information the furnisher; (v) failing to maintain reasonable procedures with which to filter and

  verify disputed information in the Plaintiff’s credit file; and/or (vi) relying upon verification from

  a source it has reason to know is unreliable.

          73.     Upon information and belief, Equifax does not perform that statutorily mandated

  FCRA investigation itself; instead, Equifax delegates all action in response to consumer disputes

  to a third-party outsource vendor located overseas previously known as Intelenet Global Services

  and now known as Teleperformance.

          74.     Teleperformance is not hired by Equifax to perform an actual FCRA investigation,


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  as its sole responsibility is to quickly read consumer dispute letters and then select one of a handful

  of common dispute codes from a drop-down menu.

          75.     Teleperformance agents are not permitted to contact the consumer, use the

  telephone to investigate, research the dispute, contact the furnisher directly, or take longer than 5

  minutes per dispute.

          76.     Accordingly, Equifax did not conduct any reinvestigation of Plaintiff’s disputes

  itself, as it merely caused the disputes to be removed from their control to be saved within a

  database by an overseas data processing vendor.

          77.     As a direct and proximate result of Equifax’s acts and/or omissions, Plaintiff

  experienced injury, including without limitation, financial loss, loss of credit, loss of the ability to

  benefit from credit, and emotional distress.

          78.     Equifax’s conduct regarding Plaintiff was willful, rendering it liable for damages

  pursuant to 15 U.S.C. § 1681n.

          79.     In the alternative, Equifax’s conduct toward Plaintiff was negligent, rendering it

  liable for damages pursuant to 15 U.S.C. § 1681o.

          80.     Plaintiff is entitled to recover costs and attorney’s fees from Equifax in an amount

  to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or § 1681o.

          WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

  against Equifax for actual damages, statutory damages, attorney’s fees, litigation expenses, costs

  of suit, and such further relief as the Court deems proper.

                                             COUNT III
                          (Violation of 15 U.S.C. § 1681s-2(b) by GS Bank)

          78.     Plaintiff realleges the foregoing paragraphs as if fully set forth herein.



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         79.     At all times relevant, Plaintiff is and was a “consumer” as defined by the Fair Credit

  Reporting Act, 15 U.S.C. § 1681a(c).

         80.     At all times relevant, GS Bank is and was a “furnisher” under the FCRA because it

  provides information concerning consumers to credit reporting agencies.

         81.     The FCRA provides: “[a] person shall not furnish any information relating to a

  consumer to any consumer reporting agency if the person knows or has reasonable cause to believe

  that the information is inaccurate.” 15 U.S.C. § 1681s-2(a)(1)(A).

         82.     Section 1681s-2(b) of the FCRA requires furnishers of credit information to

  investigate the accuracy of said information upon receiving notice of a dispute from a consumer

  reporting agency. 15 U.S.C. § 1681s-2(b).

         83.     A consumer has a private right of action against a furnisher of information under

  Section 1681s-2(b) when the furnisher, after receiving notice of a consumer’s dispute, fails to

  conduct a reasonable investigation with respect to the disputed information, fails to review all

  relevant information, and/or fails to properly report the results of the investigation. See 15 U.S.C.

  § 1681s-2(b); see also Peart v. Shippie, 345 F. App’x 384, 386 (11th Cir. 2009).

         84.     Credit reporting agencies electronically send consumer disputes to furnishers, like

  GS Bank, using a form called an automated credit dispute verification (hereinafter “ACDV”).

         85.     A furnisher who has received an ACDV is obligated to conduct a thorough

  investigation, which courts have defined in this context to mean “a careful” and “searching

  inquiry.” Brim v. Midland Credit Mgmt., Inc., 795 F. Supp. 2d 1255, 1269 (N.D. Ala. 2011). The

  furnisher must do more than just a superficial, perfunctory review of its own records to meet the

  statutory mandate.

         86.     “By its ordinary meaning, an [FCRA] ‘investigation’ requires an inquiry likely to


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  turn up information about the underlying facts and positions of the parties, not a cursory or sloppy

  review of the dispute.” Gorman v. Wolpoff & Abramson, LLP, 584 F.3d 1147, 1155–56 (9th Cir.

  2009).

           87.     If a furnisher in receipt of an ACDV from a credit reporting agency discovers after

  its investigation that information is inaccurate, it must report those results to all other consumer

  reporting agencies to whom it has furnished information. See 15 U.S.C. § 1681s-2(b)(1)(D).

           88.     After being notified of Plaintiff’s disputes, GS Bank violated 15 U.S.C. § 1681s-

  2(b), by: (i) failing to properly conduct an investigation into Plaintiff’s disputes; (ii) failing to

  review all relevant information provided by Plaintiff regarding his disputes; (iii) failing to properly

  respond to Plaintiff’s disputes; and/or (iv) failing to report the results of its investigation to all

  other consumer reporting agencies to whom GS Bank furnished information concerning Plaintiff.

           89.     As a direct and proximate result GS Bank’s acts and/or omissions, Plaintiff

  experienced injury, including without limitation, financial loss, loss of credit, loss of the ability to

  benefit from credit, and emotional distress.

           WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

  against GS Bank for actual damages, statutory damages, attorney’s fees, litigation expenses, costs

  of suit, and such further relief as the Court deems proper.

                                         JURY TRIAL DEMAND

           Plaintiff respectfully requests trial by jury.

                                                   Respectfully submitted,

                                                   /s/ Christopher Legg
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